Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 1 of 16 PagelD #: 1861

EXHIBIT J
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 2 of 16 PagelD #: 1862

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Page 26

DEPOSITION OF DAVID CONNER, 10/27/2014

 

 

A. (Witness complies.) Okay.

Q. Okay. Do you mind going down to the --
See the section there marked, Part E, duties after an
accident or loss?

A. Yes.

Q. Okay. Would you mind taking a look at

subparagraph B(4) (a).

A. Okay.

Q. Are you there?

A. Yep.

Q. Okay. What does that paragraph authorize

United Fire to obtain?
A. That section only authorizes us to obtain

medical reports related to a particular accident or

injury.
Q. And under that paragraph does that only
authorize -- or do you communicate that that only

authorizes United Fire to obtain records necessary to
process the claim?

A. Could you repeat that?

Q. Sure. You said that it -- I just want to
confirm my understanding. I heard you say that that
only authorizes you to obtain the records related to
the claim. Is that fair to say?

A. It authorizes us to obtain medical reports

 

 

IRISH REPORTING, INC.
319-393-5050

1902158f£-305e-413e-983e-173af2a63db3
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 3 of 16 PagelD #: 1863

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Page 27

DEPOSITION OF DAVID CONNER, 10/27/2014

 

 

that we deem necessary that could be related to the
claim.

Q. Okay. And how do you determine whether or
not a record is related to the claim?

A. Obviously you'd want to inquire about the
treating physicians' facilities based on the injuries
that occurred and obtain medical records and reports
related to those; however, there are times when there
are extenuating circumstances where prior injuries
or prior ailments come into play and impact the
treatment for a particular injury that is being --
that is the topic of the claim at hand. So it's very
difficult up front to try and figure out exactly what
is or isn't needed before you can find out more
information and do the investigation.

Q. Sure. So, for example, if, you know,
someone had a broken wrist -- Okay? -- and -- would
that allow United Fire to get their records related
to their STDs that they've had?

MR. DeNURE: Objection, speculation, calls
for facts not in evidence.

A. You know, you can come up with a hundred
different scenarios. I would say this, because each
individual claim brings with it its own unique

circumstances, that it's difficult to say with any

 

IRISH REPORTING, INC.
319-393-5050

1902158f£-305e-413e-983e-173af2a63db3

 
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 4 of 16 PagelD #: 1864

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Page 35

DEPOSITION OF DAVID CONNER, 10/27/2014

 

 

Q. Okay. Does he talk with you about why
you're awarded stock options every year?

A. No.

Q. They just sort of magically appear,

I guess, would that be a fair way to describe it?

A. Well, it's no secret that it's based on
whether we have a decent year or not.

Q. Okay. What determines whether you have a
decent year or not?

A. Whether or not we're profitable, our return
on equity, our earnings for the year.

Q. Similar goals to -- for what happens in
like the bonus program?

A. Yes.

Q. Okay. The same -- Are they the same sorts
of targets?

A. I don't know that they utilize them, but
you're on the right track with regard to the general
theme is similar to what we would see in the bonus
program.

Q. Okay. Now let's talk about your salary
increases. We sort of touched on this a little bit
earlier. What factors drive whether you receive an
increase in salary from year to year?

A. In part, whether or not I reach the goals

 

 

IRISH REPORTING, INC.
319-393-5050

1902158£-305e-413e-983e-173af2a63db3
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 5 of 16 PagelD #: 1865

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Page 38

DEPOSITION OF DAVID CONNER, 10/27/2014

 

 

loss ratio is you would take the amount of claims
paid, and then you would divide it by the revenue
earned, would that be a fair way to describe it?

A. Correct.

Q. Okay. And by revenue earned, how does
United Fire earn revenue in any given year?

A. Through the premiums -- Two ways. Mostly
through the premiums that are paid for the policies
issued and also through investments.

Q. Okay. If you wouldn't mind grabbing --

just moving forward to Exhibit 11.

A. (Witness complies.)

Q. And look at -- oh, it's just that -- that's
part of the employee handbook, which is -- I've
marked here as Bates 25 -- which is Bates UF 2588 to

2703. If you wouldn't mind turning to page UF 2680.
It's a ways in there.

A. (Witness complies.) Okay.

Q. Okay. Do you mind reading how United Fire
defines loss ratio in its handbook?

A. The proportionate relationship of incurred
losses to earned premium expressed as a percentage.

Q. And so was how I described the calculation
of loss ratio consistent with that definition?

A. Yes.

 

 

IRISH REPORTING, INC.
319-393-5050

1902158£-305e-413e-983e-173af2a63db3
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 6 of 16 PagelD #: 1866

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

Page 39
DEPOSITION OF DAVID CONNER, 10/27/2014
Q. Okay. I just wanted to make sure. And
just so I understand, lower -- the lower the loss

ratio, the more profitable United Fire is, right?

A. Correct.
Q. And what's an expense ratio?
A. That is the -- a ratio of incurred expenses

to the incoming revenue.

Q. And that's a generally accepted term in the

insurance industry, right?

A. Correct.

Q. Okay. And if you wouldn't mind looking at
UF -- well -- Sorry. I'm going to take a step back
before I do that. So that's basically -- you take

the incurred expenses, you divide it by the premiums
and the revenue and -- or premiums, which is -- or
the revenue, which is the premiums and the investment

income, you divide it, and then you get a number,

is that --
A. Correct.
Q. -- a fair way to describe how you calculate

the expense ratio?

A. Yes.

Q. Okay. And then if you wouldn't mind
looking at -- a few pages back at UF 2676.

A. (Witness complies.)

 

 

IRISH REPORTING, INC.
319-393-5050

1902158f-305e-413e-983e-173af2a63db3
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 7 of 16 PagelD #: 1867

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

Page 40
DEPOSITION OF DAVID CONNER, 10/27/2014
Q. Do you see where it says, expense ratio,
there?
A. Yes.
Q. Okay. Would you read the definition.
A. The percentage of the premium used to pay

all the costs of acquiring, writing and servicing
business.

Q. And is that definition consistent with
the process of calculating the expense ratio that I
described to you before?

A. Yes.

Q. Okay. Would you agree with the definition
that's in this book?

A. Yes, I would.

Q. Now, we already talked a little bit about
it, but what is the combined ratio?

A. The combined ratio is the overall revenue
to overall expenses, both incurred expenses and
losses paid.

Q. Okay. Now -- And I'm going to take a step
back quick. Sorry. I forgot to ask you a question
related to the expense ratio. So if United Fire has
a lower expense ratio, that's also a measure of
profitability, right?

A. Correct.

 

IRISH REPORTING, INC.
319-393-5050

1902158£-305e-413e-983e-173af2a63db3

 
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 8 of 16 PagelD #: 1868

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Page 41

DEPOSITION OF DAVID CONNER, 10/27/2014

 

 

Q. Okay. Now back to the combined ratio.

A. Yes.

Q. Okay. And I apologize for jumping back
and forth there. The same with the last two terms,
I'm going to have you take a look at how it's defined

in the handbook, so if you wouldn't mind turning to

UF 2673.
A. (Witness complies.)
Q. And how does the handbook define the

combined ratio?

A. The sum of the loss ratio and expense
ratio.

Q. Okay. Basically you take the percentage of
the loss ratio, and then you add the expense ratio,
and you get the combined ratio?

A. Correct.

Q. Okay. And when you combine those two
together, that combined ratio, it's a measure of

profitability, right?

A. Yes, it is.
Q. Okay. And what is a net UW gain or loss?
A. Net underwriting gain or loss is a term --

a phrase in the industry that talks about whether or
not there is a profit on the underwriting side of the

business. That would be the profitability ratio

 

IRISH REPORTING, INC.
319-393-5050

1902158f -305e-413e-983e-173af2a63db3

 
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 9 of 16 PagelD #: 1869

10

11

12

13

14

15

16

17

18

19

20

21

ae

23

24

25

 

 

Page 64
DEPOSITION OF DAVID CONNER, 10/27/2014

the expense ratio --

A. Correct.

Q. -- but I was asking about loss ratio.

A. Sorry.

Q. And -- as opposed to the combined ratio or
the expense ratio. And so -- But they would know

that a loss ratio is based off of, you know, payment
of claims, right?

A. They would definitely understand that --
most of them would understand that the loss ratio is

generated by the indemnity dollars that we pay on

claims.
Q. Okay.
A. But they -- It would be the same answer,

and I apologize getting off target with the expenses
versus the loss ratio, but I would have the same
answer for that. I don't -- I know there isn't a
Single individual out there that looks at that and
would ever contemplate paying less than what is owed
on a particular claim simply because, you know,
sometime down the road when they -- when we add
thirty-five or forty thousand claims up, you know,
you're going to have a percentage less on the loss
ratio that's going to give a little bonus at the end

of the year.

 

IRISH REPORTING, INC.
319-393-5050

1902158f-305e-413e-983e-173af2a63db3

 
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 10 of 16 PagelD #: 1870

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

Page 75
DEPOSITION OF DAVID CONNER, 10/27/2014

Q. Are you there?

A. Yep.

Q. Okay. Would the employees know the
percentages listed there?

A. I don't think so.

Q. Why not?

A. I think each individual group that fits
into those percentages knows.

Q. Well, I'm looking there at tier A where it

says, all others, and who would fit into all others?

A. Those that were not AVPs, managers and
supervisors --

Q. Would that be --

A. -- or VPs or CEO.

Q. Would claims adjusters be in that all

others tier?

A. Yes.

Q. Would a claims adjuster know those
percentages there?

A. Yes.

Q. Okay. How would they know those
percentages for themselves?

A. I believe they're published at the time the
bonuses are awarded.

Q. Okay. How would that be communicated to

 

 

IRISH REPORTING, INC.
319-393-5050

1902158f-305e-413e-983e-173af2a63db3

 
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 11 of 16 PagelD #: 1871

10

11

12

13

14

L5

16

17

18

19

20

21

22

23

24

25

 

 

Page 76
DEPOSITION OF DAVID CONNER, 10/27/2014
the -- and when you say when the bonuses are awarded,
what's -- is that on a document or something?
A. Each individual receives a letter showing
the award of the bonus.
Q. Just so I understand, a claims adjuster,

like, example, Sherri Wade, would she have received

a letter indicating what her bonus was in 2011?

A. If she received one, yes.
Q. Or for whatever year she was in, she would
have -- if Sherri Wade received a bonus, she would

have received a letter explaining it?

A. Yes.

Q. And that letter would have explained the
percentages there listed on UF 759?

A. Correct.

Q. What if that department didn't get a bonus,

would that be communicated?

A. Yes.

Q. Okay. How would that be communicated?

A. In the same manner.

Q. And would it also include those percentages
as to the --

A. I don't believe so.

Q. Absent receiving a bonus previously, how

would an employee know what those percentages were?

 

 

IRISH REPORTING, INC.
319-393-5050

1902158f-305e-413e-983e-173af2a63db3
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 12 of 16 PagelD #: 1872

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

Page 84
DEPOSITION OF DAVID CONNER, 10/27/2014

Q. And for the expense ratio?

A. 30.

Q. I think we already covered earlier that A
are the claims examiners and claims supervisors,
right?

A. Correct, all other.

Q. And is Roberta --

A. Did you say supervisors?

Q. Yes.

A. Supervisors are in the double A.

Q. Okay. So Roberta Sniffen would be in
double A then?

A. Correct.

Q. Okay. So Sherri Wade would have been under

tier A, and what percentage of her bonus is dependent

upon the corporate ROE?

A. 30.
Q. And that's -- and then how much for
Sniffen -- I'm sorry. -- Sherri Wade's bonus is

dependent upon the loss ratio?

A. 35.

Q. And then the expense ratio?

A. 35.

Q. And the loss ratio, that's the -- When we

talk about loss ratio in Exhibit 12, it's the same

 

 

IRISH REPORTING, INC.
319-393-5050

1902158f£-305e-413e-983e-173af2a63db3
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 13 of 16 PagelD #: 1873

10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Page 85

DEPOSITION OF DAVID CONNER, 10/27/2014

 

 

thing, right?

A. Correct.

Q. Okay. And the expense ratio in the --
for those percentages there, that's the same as the
expense ratio, is that --

A. Correct.

Q. Okay. Why is it that loss ratio becomes
a higher percentage of someone's bonus the closer

they get to a claims examiner?

A. I don't know.
Q. Who would?
A. I'm thinking of two things at once.

That's why I'm not responding.

Q. That's fine. Take your time.

A. I think it would probably be -- HR would
be able to provide some insight as to the changes.

Q. And that's Tim Spain again?

A. Yes.

Q. Do you know why the expense ratio becomes
increasingly important -- or, sorry, not increasingly
important -- but why the expense ratio becomes an
increasingly large percentage for claims examiners?

A. No, I don't know why that is built in that
way.

Q. Okay. Would that be Tim Spain again?

 

IRISH REPORTING, INC.
319-393-5050

1902158£-305e-413e-983e-173af2a63db3

 
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 14 of 16 PagelD #: 1874

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

Page 113
DEPOSITION OF DAVID CONNER, 10/27/2014
marked from UF 2704 to 2717.
A. Okay.
Q. If you would turn to 2705.
A. (Witness complies.)
Q. It shows -- It looks here that in 2011 one

of the goals was to control loss adjustment expenses,
is that correct?

A. That is correct.

Q. Who was assigned to -- I see that it has
Doug Walters there assigned. What does that mean?

A. That means that Doug Walters oversees the
drafting of this particular claims goal.

Q. And why was he assigned this task?

A. As corporate claims manager, he has
experience in managing a region as well as handling
claims, and I felt his expertise best suited him
overseeing this particular goal.

Q. And loss adjustment expenses, that's --

is that also known by the acronym LAE?

A. Yes, it is.
Q. Okay. And I see a number of expenses that
Mr. Walters assigned here that were -- it was a goal

to reduce in 2011. Would that be fair to say that
each of these expenses listed here are LAES that were

Supposed to be reduced in 2011?

 

 

 

IRISH REPORTING, INC.
319-393-5050

1902158f-305e-413e-983e-173af2a63db3
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 15 of 16 PagelD #: 1875

10

11

12

13

14

15

16

17

18

19

20

21

22

zs

24

25

Page 114

DEPOSITION OF DAVID CONNER, 10/27/2014

 

 

A. That's correct.

Q. Now, is one of the expenses that was
supposed to be controlled in 2011 the cost of
obtaining medical records? It's on the left column
there.

A. I have medical records expense. That is
correct, that is a component of LAE, loss adjustment
expenses.

Q. And then subrogation expenses, is that
another one of the LAEs that was supposed to be part
of the loss expense control for 2011 goals?

A. It is, but I would like to put this in
context, because taken out of context, this would
give -- potentially could give the appearance that
the sole objective of our claims department is from
year to year to reduce these expenses, which we all
know 1s -- number one, it's impossible, and,
number two, earlier on I mentioned that we teach our
claims staff that if the expense is necessary in
order to perform the objective that we have, which is
to treat our policyholders with the utmost respect
and handle the entire claim process fairly, then we
spend the money.

So the context I'm trying to put on this

is that while we are always cognizant of our expenses

 

IRISH REPORTING, INC.
319-393-5050

1902158f-305e-413e-983e-173af2a63db3

 
Case 4:12-cv-04075-KES Document 65-10 Filed 01/09/15 Page 16 of 16 PagelD #: 1876

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

Page 138
DEPOSITION OF DAVID CONNER, 10/27/2014
let them do it?
A. We would have to let them do it, because

they wouldn't accept our form. But, again, I've not
run into any situations where our forms have not been
accepted.

Q. I just want to make sure that I -- that
you're agreeing with me that if Mayo or some other
hospital insisted on using their own form, that
United Fire would let them do it?

A. Yes, we would jump on it in order to get

the documentation that we needed to handle the claim.

Q. Okay. Are you familiar with the language
in United Fire's claims -- medical authorization
forms?

A. No.

Q. Who would be?

A. I would think, again, Kristine, Roberta
and/or Sherri would be familiar, but --

Q. How were those forms developed?

A. I can't answer that. We've had them on

board since I was here.

Q. Do you know when they were developed?
A. No, I don't.
Q. Do you have any idea who would have any

idea how those were developed?

 

 

 

IRISH REPORTING, INC.
319-393-5050

1902158f-305e-413e-983e-173af2a63db3
